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 7
 8
                                UNITED STATES DISTRICT COURT
 9
                CENTRAL DISTRICT OF CALIFORNIA EASTERN DIVISION
10
11    CASANDRA PASTORA, DECEASED,                  Case No.: 5:21-cv-01410
      by and through her Successor in Interest,
12    SAEED TOGHRAIE, individually,                COMPLAINT FOR DAMAGES
13                Plaintiffs,                      1. 42 U.S.C. §1983—Civil Rights Violations
14                                                    Inadequate Conditions of Confinement &
           v.                                         Denial of Needed Medical Care
15
      COUNTY OF SAN BERNARDINO, a                  2. 42 U.S.C. §1983—Civil Rights Violations
16    public entity; former SHERIFF-                  Deprivation of the fundamental right to
17    CORONER JOHN MCMAHON,                           familial relationships
      individually and in his official capacity;
18    SHERIFF-CORONER SHANNON D.                   3. 42 U.S.C. §1983—Civil Rights Violations
      DICUS, in his individual and official           Illegal Customs, policies, and procedure
19    capacities; CAPTAIN VICTOR
      MORENO, in his individual and official       4. Cal. Civ. Code §52.1—Civil Rights Act
20    capacities; and DOES 1-10, individually,
21    jointly, and severally,                      5. 42 U.S.C. §12132—ADA
                                                      Violations of the Americans with
22                Defendants.                         Disabilities Act
23                                                 6. Wrongful Death
24
                                                   DEMAND FOR JURY TRIAL
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                                     COMPLAINT FOR DAMAGES
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 1          Plaintiff Saeed Toghraie, by and through his counsel, The Cochran Firm
 2    California, files this Complaint individually and as successor in interest to his
 3    daughter, Casandra Pastora, against the Defendants.
 4                                JURISDICTION AND VENUE
 5         1.      This is a civil rights wrongful death and survival action arising from
 6    Defendants’ failure to provide safe conditions of confinement, in denying needed
 7    medical care, and committing other wrongful acts resulting in the death of 24-year-old
 8    Casandra Pastora, who was severely disabled with schizophrenia when she was
 9    arrested and detained by San Bernardino County Sheriff's Department and housed as a
10    pretrial detainee in the West Valley Detention Center ("Jail").
11         2.      This action is brought pursuant to 42 U.S.C. §§1983 and 1988, the First,
12    Fourth, and Fourteenth Amendments to the United States Constitution, and the laws
13    and Constitution of the State of California. Jurisdiction is conferred upon this Court
14    by 28 U.S.C. §§1331 and 1343. Plaintiff further invokes the supplemental jurisdiction
15    of this Court pursuant to 28 U.S.C. §1367, to hear and decide claims arising under
16    state law.
17         3.      A substantial part of the events and/or omissions complained of herein
18    occurred in the City of Chino Hills, County of San Bernardino, California, and
19    pursuant to 28 U.S.C. §1391(b)(2) and Central District of California General Order
20    No. 21-01. This action is properly assigned to the Eastern Division of the United
21    States District Court for the Central District of California.
22                                         THE PARTIES
23         4.      Decedent Casandra Pastora's ("Casi") claims are brought through her
24    father, Plaintiff Saeed Toghraie, ("Plaintiff" or "Casi's father") as a successor in
25    interest, pursuant to California Code of Civil Procedure §§377.10 et seq. and federal
26    civil rights laws. Casi had no spouse or children. A successor in interest declaration
27    executed by Casi's father is attached to this complaint as Exhibit 1. A true and correct
28    copy of her death certificate is attached as Exhibit 2. Casi's father brings these claims
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                                      COMPLAINT FOR DAMAGES
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 1    pursuant to California Code of Civil Procedure §§377.20 et seq. and 377.60 et seq.,
 2    which provide for survival and wrongful death actions. He also brings claims
 3    individually and on behalf of his daughter Casi based on 42 U.S.C. §§1983 and 1988,
 4    the United States Constitution, federal and state civil rights law, and California law.
 5    Casi's father also brings these claims as a Private Attorney General, to vindicate not
 6    only his and his daughter's rights, but others’ civil rights of great importance.
 7         5.    Defendant San Bernardino County ("County") is a public entity, duly
 8    organized and existing under the laws of the State of California. Under its authority,
 9    County operates the San Bernardino County Sheriff's Department ("SBCSD") and the
10    West Valley Detention Center ("Jail") located at 9500 Etiwanda Ave, Rancho
11    Cucamonga, California 91739. The County has authority to sue and be sued, to
12    purchase and make contracts, to dispose of and resolve legal actions and tort claims,
13    provide for jails and corrections, to operate and be responsible for health facilities,
14    such as its jails through contracts, joint ventures or partnerships, it is charged and is
15    responsible to make payments for goods furnished its departments, to pay salaries to
16    its employees (such as all SBCSD Deputies), and owns, operates, manages, directs,
17    and finances SBCSD, a public department of the County, which employs other
18    Defendants in this action. SBCSD is responsible for all deputy training, discipline,
19    hiring, firing, maintaining deputy and staff records, and to taking corrective actions as
20    it affects SBCSD and its jails, inmates, pretrial detainees, deputy officers, and staff.
21    Deputies and officers are under the direct authority and control of SBCSD and its
22    Sheriff-Coroner.
23         6.    Defendant Sheriff-Coroner John McMahon (“Sheriff-Coroner
24    McMahon”), at all times mentioned herein up until about July 16, 2021, was
25    employed by the County as its Sheriff-Coroner, and he was acting within the course
26    and scope of that employment. In that capacity, Sheriff-Coroner McMahon was a
27    policy making official for the County. Further, Sheriff-Coroner McMahon was
28    ultimately responsible for the provision of medical and mental health care to inmates
                                                3
                                     COMPLAINT FOR DAMAGES
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 1    at the Jail, including assessment of inmates for medical emergencies and possible
 2    mental health needs, and all County policies, procedures, and training related thereto.
 3    He is being sued in his official and individual capacities.
 4         7.       Defendant Sheriff-Coroner Shannon D. Dicus (“Dicus”), at all times
 5    mentioned herein, was employed by the County as Undersheriff and elevated to
 6    Sheriff-Coroner following Sheriff-Coroner McMahon's resignation on approximately
 7    July 16, 2021. Sheriff-Coroner Dicus was acting within the course and scope of such
 8    employment. In these capacities, Sheriff-Coroner Dicus was a policy making official
 9    for the County. Further, Sheriff-Coroner Dicus was ultimately responsible for the
10    provision of medical and mental health care to inmates at the Jail, including
11    assessment of inmates for medical emergencies and possible mental health needs, and
12    all County policies, procedures, and training related thereto. He is being sued in his
13    official and individual capacities.
14         8.       Defendant Captain Victor Moreno (“Captain Moreno”), at all times
15    mentioned herein, up and until approximately May 2021, was employed by the
16    County as a Captain. Captain Moreno was acting within the course and scope of such
17    employment. In these capacities, Captain Moreno was a policy making official for the
18    County, responsible for supervising the SBCSD's Corrections Division, including
19    more than 600 employees, including medical professionals. Further, Defendant
20    Moreno was ultimately responsible for the provision of medical and mental health
21    care to pretrial detainees and inmates at the Jail, including assessment of inmates for
22    medical emergencies and possible mental health needs, and all County policies,
23    procedures, and training related thereto. He is being sued in his official and individual
24    capacities.
25         9.       Certain Doe Defendants, at all material times, were employees and agents
26    of Defendant County, who were responsible for assigning Casi to appropriate housing
27    and housing classification, with appropriate observation and care rendered to her,
28    given her risk of self-harm, her risk of suicide-attempt, her pregnancy, her known
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                                      COMPLAINT FOR DAMAGES
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 1    medical condition, namely schizophrenia, and the fact that she had stopped taking her
 2    medication, and that she was suffering from grave, life-threatening, and acute
 3    symptoms and effects of schizophrenia, her medical needs, the information Casi's
 4    father had provided to 911 and the arresting deputies, and other indicators. These to-
 5    be-identified Doe Defendants were also responsible for Casi—and had state and
 6    federal duties to protect Casi—from harm inflicted by other County employees and
 7    Jail staff, other inmates, and any the third-parties. In doing the acts or omissions
 8    hereinafter described, certain Doe Defendants acted within the course and scope of
 9    their employment with the County and acted under color of state law. The individually
10    named Defendants and certain Doe Defendants were either elected Sheriff-Coroners,
11    Sheirff's Undersheriffs, Assistant Sheriff's, Deputy Chiefs, Captains, Lieutenants,
12    Sergeants, Corporals, Deputies, Correctional Officers, Doctors, Nurses, Social
13    Workers, medical health professionals, medical health providers, and/or civilian
14    employees and/or agents who were responsible for the care, housing, observation, and
15    safety of pretrial detainees and inmates, including Casi, and/or the transfer of Casi to
16    an inpatient facility for inpatient medical and/or psychiatric care.
17           10.   Certain Doe Defendants, at all material times, were employees and agents
18    of Defendant County; pursuant to Rule 8(d)(2) of the Federal Rules of Civil
19    Procedure, Plaintiff alleges in the alternative that these to-be-identified Doe
20    Defendants caused the death of Casi, and in doing the acts or omissions hereinafter
21    described, these certain Doe Defendants acted within the course and scope of their
22    employment and or contracts with Defendant County, and acted under color of state
23    law.
24           11.   The true names or capacities, whether individual, corporate, associate, or
25    otherwise, of Defendants named herein as Does 1 through 10 are unknown to
26    Plaintiff, who therefore sue said Defendants by said fictitious names. Plaintiff will
27    amend this Complaint to show said Defendants’ true names and capacities when the
28    same have been ascertained. Plaintiff is informed, believes, and thereon allege that all
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                                      COMPLAINT FOR DAMAGES
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 1    Defendants sued herein as Does are in some manner responsible for the acts,
 2    omissions, and injuries alleged herein.
 3         12.   Plaintiff alleges, on information and belief, that each of the Defendants
 4    sued herein was wrongfully, deliberately indifferently, negligently, and/or otherwise
 5    responsible in some manner for the events and happenings as hereinafter described,
 6    and proximately caused injuries and damages to Plaintiff. Further, one or more Doe
 7    Defendants was at all material times responsible for the hiring, training, supervision,
 8    and discipline of other defendants, including both individually named and to-be-
 9    identified Doe Defendants.
10         13.   Plaintiff is informed, believes, and thereon alleges that each of the
11    Defendants was at all material times an agent, servant, employee, partner, joint
12    venturer, co-conspirator, and/or alter ego of the remaining Defendants, and in doing
13    the things hereinafter alleged, was acting within the course and scope of that
14    relationship. Plaintiffs are further informed, believe, and thereon allege that each of
15    the Defendants herein gave consent, aid, and assistance to each of the remaining
16    Defendants, and ratified and/or authorized the acts or omissions of each Defendant as
17    alleged herein, except as may hereinafter be otherwise, specifically alleged. At all
18    material times, each Defendant was an integral participant, jointly and fundamentally
19    engaged in constitutionally violative, unlawful, and/or tortious activity, resulting in
20    the deprivation of Plaintiffs' constitutional rights and other actionable harm.
21         14.   The acts and omissions of all Defendants were at all material times
22    pursuant to the actual customs, policies, practices, and/or procedures of County,
23    SBCSD, and/or Jail.
24         15.   At all material times, each Defendant acted under color of the laws,
25    statutes, ordinances, and regulations of the State of California.
26         16.   The Defendants named above, and certain Doe Defendants are sued in
27    their individual capacities.
28         17.   A proper and timely tort claim was presented to County on behalf of
                                                6
                                     COMPLAINT FOR DAMAGES
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 1    Plaintiffs, pursuant to Government Code § 910 et seq., and this action was thereafter
 2    timely filed within all applicable statutes of limitation.
 3         18.   This complaint is pleaded in the alternative, pursuant to Rule 8(d)(2) of the
 4    Federal Rules of Civil Procedure.
 5                                 GENERAL ALLEGATIONS
 6         19.   Casi and her boyfriend fell in love when they were fifteen. Shortly after
 7    her twenty first birthday, Casi was diagnosed with schizophrenia. She treated her
 8    condition with medication.
 9         20.   At the age of 24, while studying in college to become a special education
10    teacher, Casi and her boyfriend were excited to learn that she was pregnant with their
11    first baby. They had planned to marry.
12         21.   As expectant parents, they were concerned about the potential risks Casi's
13    medication would have on their baby. Accordingly, Casi decided to stop her
14    medication.
15         22.   March 13, 2021. Casi had an episode of psychosis. Casi's father called
16    911 for help. When the Sheriff-Coroner's Deputies arrived, her father explained that
17    Casi had been diagnosed with schizophrenia and stopped taking her medication
18    because she was pregnant.
19         23.   The Deputies arrested Casi and took her to the West Valley Detention
20    Center—one of the largest jails in the State of California. The Deputies assured Casi's
21    father that she would be safe at the "detention center."
22         24.   In the evening, Deputies refused to provide Casi's father with any
23    information about her.
24         25.   March 14, 2021. A Deputy told Casi's father that his daughter had been
25    stripped naked and put in, what the Deputy described as a "safe room" with a 15 foot-
26    ceiling so that she could not harm herself. But that Casi had injured her head on a
27    window inside the "safe room" and was taken to Kaiser Permanente Foundation
28    Hospital in Fontana. The Deputy stated that Casi's baby remained healthy with a
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 1    strong heartbeat. Casi's father was led to believe Casi had been transported back to
 2    the Jail. For the next two days, the Defendants refused to provide Casi's father with
 3    any information about his daughter or even her whereabouts.
 4         26.   March 16, 2021. A Detective called and informed Casi's father that she
 5    had attempted suicide, lost her baby, and was at Kaiser Permenente Hospital in
 6    Fontana.
 7         27.   Casi's father had called the hospital and was transferred to a nurse in the
 8    intensive care unit ("ICU"), who informed him that Casi was is in "critical but stable
 9    condition." A doctor interrupted the call. The nurse told Casi's father that she is not
10    allowed to provide him with any further information. The nurse told him to call the
11    Jail. Casi's father was under the impression that his daughter had been returned to the
12    Jail. Despite Casi's father's requests, the Jail refused to provide him with any
13    information about his daughter.
14         28.   March 17, 2021. In the morning, Casi's father drove to the Jail and spoke
15    with a Deputy working at the front desk. The Deputy said she had no information
16    about his daughter, nor her condition, nor her current location. The Deputy said that
17    Casi's information was confidential and "all I can tell you is that she is being taken
18    care of very well by my colleagues."
19         29.   In the afternoon, another Deputy informed Casi's father that his daughter
20    was still at the hospital and was never taken back to the Jail. The Deputy said that
21    Casi was on a ventilator.
22         30.   Over the next four days, the County, the Sheriff's-Coroner, the Jail, and
23    Kaiser Permanente Hospital in Fontana, refused to provide Casi's father with any
24    additional information about his daughter's health, safety, and welfare—or lack
25    thereof.
26         31.   March 22, 2021. Casi's father drove to the hospital again. He had hoped
27    they would let him in to see his daughter. This time, something had changed. The
28    hospital's security directed him in to the ICU. Casi's father met a nurse in the ICU
                                                8
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 1    who said Casi had tried to commit suicide and had widespread brain damage. A
 2    doctor told him that Casi was brain dead. Casi's father asked if the doctor needed
 3    permission to remove Casi from her ventilator. The doctor told him "no, she's dead."
 4         32.   The Defendant County, Sheriff-Coroners, and Jail all had a duty to protect
 5    Casi from harming herself, and to provide necessary medical care, and adequate
 6    conditions of confinement. Casi had not been convicted of any crime nor even had a
 7    day in court while she was being held as a pretrial detainee in the custody of the
 8    Defendants.
 9         33.   These are just a few of the things the the San Bernardino County Sheriff's
10    Department's website says about the county jail:
11
12                      We believe in maintaining public trust . . .
13
                        We continuously strive to provide an environment that
14                      ensures optimal safety and security of the employees and
                        inmates, as well as the surrounding community.
15
16                      We are very proud of the medical and mental health
                        services we provide. Medical care is provided to the
17                      inmate from the time of booking through release. All
                        inmates are medically screened upon arrival and
18                      evaluated for medical and mental health conditions which
                        could require continued care and treatment. Health
19                      professionals are on duty 24/7 and provide a full range of
20                      services including daily physician sick call, medication
                        administration, treatments, dialysis, radiology services,
21                      dental care and psychiatric care. The facility houses the
                        inmates with the greatest medical needs and includes two
22                      special medical/mental health housing areas staffed
23                      around the clock with medical/mental health
                        professionals.
24
25
           34.   As of today, the Defendants refuse to provide Casi's father with any
26
      information concerning her arrest, her detention in jail, her injuries, her medical
27
      records, her autopsy, or even a completed death certificate. This, despite Casi's
28
      father's requests for information under California's Privacy Act. Accordingly, the
                                                9
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 1     Defendant County, its counsel, and Sheriff-Coroner Dicus, continue to break the law
 2     in a blatant effort to conceal their illegal conduct that resulted in Casi's preventable
 3     and untimely death.
 4          35.   Casi's incomplete death certificate which lists her cause of death as
 5     "pending" was executed by San Bernardino County Sheriff's Department's Deputy
 6     Coroner, Mark James on April 4, 2021. To date, Casi's father has never been
 7     provided with a complete death certificate for his daughter listing the cause of her
 8     death, let alone any information, reports, documents, or medical records concerning
 9     the loss of his daughter and expected grandchild.
10          36.   At all material times, the County of San Bernardino—like most other
11     counties in the State of California—allow their elected Sheriff to also serve as their
12     Coroner. This presents inherent conflict of interest whenever anyone such as Casi
13     dies at the hands of the Sheriff. Historically, Sheriffs throughout California, including
14     in San Bernardino County, have been able to withhold and conceal critical
15     information concerning the individuals that they have killed by determining their
16     victims' causes of death. Accordingly, Sheriffs who play the dual role of Coroner are
17     enabled to improperly influence autopsies conducted by the medical examiners they
18     choose.
19          37.   In this case, the Defendants are concealing the fact that they had deprived
20     Casi of her civil rights by, among other things, refusing and denying her the right to
21     adequate conditions of confinement and needed medical care. The Defendants and
22     each of them have blatantly withheld this information, which Casi's father, and the
23     public at large, is entitled to. The Defendants have ignored Casi's father's requests
24     under California's Privacy Act for writings relating to her arrest, incarceration, and in-
25     custody death—requests that have been blown off by the County's counsel.
26          38.   In committing the violations of the law as set forth throughout this
27     complaint, the Defendants, including the Sheriff-Coroner, and the County's counsel
28     have placed their own financial and political interests, ahead of the public's interest,
                                                10
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 1     including Casi's and her father's.
 2          39.   According to San Bernardino County's Code of Ethics and Commitment to
 3     County Ethics, Section 2, on Responsibilities of Public Office:
 4
 5
                         Public officials and employees are agents of the public
 6                       purpose and serve for the benefit of the public. They shall
                         uphold and adhere to the Constitution of the United
 7                       States, the Constitution of the State of California, and the
 8                       Charter of the County of San Bernardino, rules,
                         regulations and policies of the County, and shall carry
 9                       out impartially the laws of the Nation, State, and County.
                         In their official acts, they shall discharge faithfully their
10                       duties, recognizing that the public interest is paramount.
                         All public officials and employees must demonstrate the
11                       highest standards of morality and ethics consistent with
12                       the requirements of their position and consistent with the
                         law.
13
14          40.   Upon taking office, County officials and employees, including the Sheriff-
15     Coroner and his employees, swear under oath, to defend the Constitution of the
16     United States and Constitution of the State of California.
17          41.   The Defendants, and each of them, failed to abide by generally accepted
18     standards in corrections and correctional healthcare which require that an inmate who
19     is at risk of suicide and housed alone in a segregated cell or solitary confinement must
20     be properly restrained so as not to her injure herself and under constant observation.
21          42.   Plaintiff is informed and believes and thereon allege that Defendants, and
22     each of them, had actual knowledge that Casi was suffering from serious psychiatric
23     illness, had serious psychiatric needs, and all Defendants were deliberately indifferent
24     to her serious psychiatric needs, and denied her of necessary psychiatric care. All
25     Defendants were deliberately indifferent to Casi’s safety and psychiatric needs in their
26     jail placement, monitoring, assessment, custody, and care decisions. Due to such
27     deliberate indifference, Casi’s psychiatric condition deteriorated while she was held in
28     jail, awaiting her arraignment, until ultimately, she ended her own life.
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 1          43.   Currently unidentified deputies, jail administrators, mental health
 2     personnel, health care providers that contract with the County, and/or law
 3     enforcement officers (Does), knew and/or had reason to know that Casi was a
 4     mentally ill and emotionally disturbed person, with immediate and serious medical
 5     needs, consistently at very high risk of suicide, and yet they failed to respond
 6     appropriately or lawfully and failed to provide her with adequate monitoring or
 7     request a treatment plan for her. Defendant and Does 1-10 were deliberately
 8     indifferent to Casi's immediate and serious medical needs, including mental illness[es]
 9     and emotional disturbances. Further, Defendants and Does 1-10 recklessly
10     disregarded Casi's safety by failing to properly and adequately monitor and care for
11     her, and Defendants failed to accommodate her mental illness and disability(ies).
12          44.   Casi’s death was the proximate result of the Defendants’ deliberate
13     indifference to her serious medical needs, as set forth above.
14          45.   Casi’s death was also the proximate result of the Defendants' failure to
15     reasonably train and supervise jail deputies and health care personnel tasked with
16     screening, admitting, observing, monitoring, and protecting Casi. These substantial
17     failures reflect all of the Defendants’ policies of implicitly or directly ratifying and/or
18     authorizing the Defendants' objectively unreasonable and deliberate indifference to
19     Casi's conditions of confinement and serious medical needs and the failure to
20     reasonably train, instruct, monitor, supervise, investigate, and discipline deputy
21     sheriffs and health care personnel employed by County, Sheriff-Coroner McMahon,
22     Sheriff-Coroner Dicus, Captain Moreno, and Does 1-10, with objectively
23     unreasonable and deliberate indifference to pretrial detainees inmates’ serious medical
24     needs.
25          46.   Casi’s death was also the proximate result of Defendants' failure to
26     reasonably staff, train, supervise, and equip their medical, mental healthcare staff, and
27     third-party health care providers with whom they contract, in the proper and
28     reasonable screening, assessment, and care of severely mentally ill, emotionally
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 1     disturbed pretrial detainees; failure to implement and enforce generally accepted,
 2     lawful policies and procedures at the jail; objectively unreasonable and deliberate
 3     choices to permit and require LVN’s to work outside of their legal scope of practice;
 4     and objectively unreasonable and deliberate indifference to the serious psychiatric
 5     needs of pretrial detainees such as Casi. These substantial failures reflect Defendants'
 6     policies implicitly ratifying and/or authorizing the objectively unreasonable conduct
 7     and deliberate indifference to serious medical needs by their medical and mental
 8     healthcare staff and third-party medical health providers whom they contract with and
 9     the failure to reasonably train, instruct, monitor, supervise, investigate, and discipline
10     the same.
11          47.    At all material times, and alternatively, the actions and omissions of each
12     Defendant were intentional, wanton, and/or willful, conscience-shocking, reckless,
13     malicious, oppressive, objectively unreasonable and deliberately indifferent to Casi’s
14     and Plaintiffs' rights, done with oppression, actual malice, gross negligence,
15     negligence, and were objectively unreasonable.
16          48.    As a direct and proximate result of each Defendant's acts and/or omissions
17     as set forth above, to the extent permitted and pled by the various legal claims set
18     forth below, Casi and her father sustained the following injuries and damages, past
19     and future, among others:
20                 a. Physical injuries, mental traumas, severe pain, and loss of her unborn
21                    baby, all suffered by Casi as a result of Defendants' improper and
22                    inadequate confinement, confinement techniques, and deprivation of
23                    necessary medical care;
24                 b. Wrongful death, pursuant to Cal. Code of Civ. Proc. § 377.60 et. seq.;
25                 c. Loss of support and familial relationships, including loss of love,
26                    companionship, comfort, affection, society, services, solace, and moral
27                    support, pursuant to Cal. Code of Civ. Proc. § 377.60 et. seq.;
28                 d. Casi’s hospital and medical expenses, pursuant to Cal. Code of Civ.
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 1                    Proc. § 377.20 et. seq.;
 2                 e. Coroner’s fees, funeral and burial expenses, pursuant to Cal. Code of
 3                    Civ. Proc. § 377.20 et. seq.;
 4                 f. Violations of Casi’s constitutional rights, pursuant to Cal. Code of Civ.
 5                    Proc. § 377.20 et. seq. and federal civil rights law;
 6                 g. Casi's loss of life, pursuant to federal civil rights law;
 7                 h. Casi’s conscious pain and suffering, pursuant to federal civil rights law;
 8                 i. Casi’s father's loss of his relationship with his daughter and unborn
 9                    grandchild, and attendant emotional distress, pursuant to federal civil
10                    rights laws;
11                 j. Violations of California Public Records Act; and
12                 k. All damages, penalties, and treble damages recoverable under 42
13                    U.S.C. §§ 1983 and 1988, Cal Civil Code §§ 52 and 52.1 et seq. and as
14                    otherwise allowed under California and United States statutes, codes,
15                    and common law.
16
                                     FIRST CAUSE OF ACTION
17              Violations of 42 U.S.C. § 1983, Deprivation of Pretrial Detainee's Civil Rights,
              Against McMahon, Discus, and Moreno, in their individual capacities and Does 1-10
18
19          49.    Plaintiff restates and incorporates by reference the foregoing paragraphs of
20     this Complaint as if set forth in full at this point.
21          50.    By the actions and omissions described above, Defendants McMahon,
22     Discus, and Moreno, in their individual capacities, and Does 1-10 violated 42 U.S.C.
23     § 1983, depriving Casi, through her father, Plaintiff as her successors in interest
24     herein, of the following clearly established and well-settled constitutional rights
25     protected by the First, Fourth, and Fourteenth Amendments to the United States
26     Constitution: Casi’s right to be free from deliberate indifference to her serious medical
27     and mental health needs while in custody as a pretrial detainee as secured by the
28     Fourth and/or Fourteenth Amendments.
                                                  14
                                        COMPLAINT FOR DAMAGES
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 1          51.    Defendants subjected Casi to their wrongful conduct, depriving her of the
 2     rights described herein, knowingly, maliciously, and with conscious and reckless
 3     disregard for whether the rights and safety of Casi and others would be violated by
 4     their acts and/or omissions.
 5          52.    As a direct and proximate result of Defendants’ acts and/or omissions as
 6     set forth above, Casi, sustained injuries and damages as set forth at ¶48 above.
 7          53.    The conduct of Defendants entitles Plaintiff to punitive damages and
 8     penalties allowable under 42 U.S.C. § 1983 and as provided by law. Plaintiff does not
 9     seek punitive damages against Defendants County, Sheriff-Corner McMahon, Sheriff-
10     Coroner Discus, or Captain Moreno in their official capacities.
11          54.    Plaintiff is also entitled to reasonable costs and attorneys’ fees under 42
12     U.S.C. § 1988, and other applicable United States and California codes and laws.
13
                                   SECOND CAUSE OF ACTION
14             42 U.S.C. § 1983 Deprivation of the Fundamental Right to Familial Relationships
              Against McMahon, Discus, and Moreno, in their individual capacities and Does 1-10
15
16          55.    Plaintiffs restate and incorporates by reference the foregoing paragraphs of
17     this Complaint as if set forth in full at this point.
18          56.    By the actions and omissions described above, Defendants McMahon,
19     Discus, and Moreno, in their individual capacities, and Does 1-10 violated 42 U.S.C.
20     § 1983, depriving Casi and Plaintiff, individually, of the following clearly established
21     and well-settled constitutional rights protected by the First, Fourth, and Fourteenth
22     Amendments to the United States Constitution: Casi's, her father's, and her unborn
23     child's rights to familial association as secured by the First and/or Fourteenth
24     Amendments.
25          57.    Defendants subjected Casi and her father to their wrongful conduct,
26     depriving Decedent and her father of the rights described herein, knowingly,
27     maliciously, and with conscious and reckless disregard for whether the rights and
28     safety of Casi, her father, and others would be violated by their acts and/or omissions.
                                                 15
                                       COMPLAINT FOR DAMAGES
32
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 1          58.   As a direct and proximate result of Defendants’ acts and/or omissions as
 2     set forth above, Casi and her father, sustained injuries and damages as set forth at ¶48
 3     above.
 4          59.   The conduct of Defendants entitles Plaintiff to punitive damages and
 5     penalties allowable under 42 U.S.C. § 1983 and as provided by law. Plaintiff does not
 6     seek punitive damages against Defendants County, Sheriff-Coroner McMahon,
 7     Sheriff-Coroner Discus, or Captain Moreno in their official capacities.
 8          60.   Plaintiff is also entitled to reasonable costs and attorneys’ fees under 42
 9     U.S.C. § 1988, and other applicable United States and California codes and laws.
10                                   THIRD CAUSE OF ACTION
                    42 U.S.C. § 1983 (Monell) for illegal customs, policies, and procedures
11                                    Against Defendants and Does 1-10
12          61.   Plaintiff re-alleges and incorporates by reference each and every allegation
13     contained in this complaint, as though fully set forth herein.
14          62.   Plaintiff alleges, upon information and belief, the unconstitutional actions
15     and/or omissions of the individually named and to-be-identified Defendants, and the
16     personnel acting on behalf of Defendants were pursuant to the following customs,
17     policies, practices and/or procedures of the County, Sheriff-Coroner McMahon,
18     Sheriff-Coroner Dicus, and Captain Moreno, stated in the alternative, which were
19     directed, encouraged, allowed, and/or ratified by policy making officials for County,
20     including, but not limited to, the following:
21                a. To deny pretrial detainees and other inmates access to timely,
22                    appropriate, competent, and necessary care for serious medical and
23                    psychiatric needs;
24                b. Requiring such pretrial detainees and inmates in crisis to remain
25                    untreated in jail instead of providing for their serious medical needs;
26                c. To allow and encourage inadequate and incompetent medical and
27                    mental health care for jail inmates and arrestees;
28                d. To allow, encourage, and require Licensed Vocational Nurses,
                                                  16
                                        COMPLAINT FOR DAMAGES
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 1                  Psychiatric Technicians, and Associate Social Workers to work outside
 2                  their legal scope of practice and without appropriate supervision, and
 3                  conduct independent and unsupervised patient assessments;
 4               e. To allow, encourage, and require unlicensed, incompetent, inadequately
 5                  trained and/or inadequately supervised staff to assess inmates’ medical
 6                  and psychiatric condition, needs, and treatment;
 7               f. To house seriously mentally ill patients at high risk of suicide in
 8                  solitary confinement in segregated cells, thereby increasing their risk of
 9                  suicide;
10               g. To prescribe medication, including psychotropic medication that has
11                  suicidal thoughts as a side effect, to patients without ever seeing or
12                  evaluating the patient;
13               h. To continue the deliberately indifferent maltreatment and mistreatment
14                  of suicidal patients and failure to supervise health care personnel even
15                  after County grand jury investigation, numerous wrongful death
16                  lawsuits, class action lawsuits, and settlements arising from similar
17                  conduct;
18               i. To provide no treatment plan or mental health treatment for severely
19                  mentally ill inmate-patients;
20               j. To house mentally ill and emotionally disturbed inmates in solitary
21                  confinement in segregated housing with no legally required welfare
22                  checks;
23               k. To fail to institute, require, and enforce proper and adequate training,
24                  supervision, policies, and procedures concerning handling mentally ill
25                  and/or emotionally disturbed persons or persons in crisis;
26               l. To cover up violations of constitutional rights by any or all of the
27                  following:
28                     i. By failing to properly investigate and/or evaluate incidents of
                                              17
                                    COMPLAINT FOR DAMAGES
32
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 1                          violations of rights, including by unconstitutional medical and
 2                          psychiatric care at the jail;
 3                       ii. By ignoring and/or failing to properly and adequately investigate
 4                          and/or investigate and discipline unconstitutional or unlawful
 5                          conduct by jail staff; and
 6                      iii. By allowing, tolerating, and/or encouraging jail staff to: fail to
 7                          file complete and accurate reports; file false reports; make false
 8                          statements; and/or obstruct or interfere with investigations of
 9                          unconstitutional or unlawful conduct by withholding and/or
10                          concealing material information;
11                m. To allow, tolerate, and/or encourage a “code of silence” among law
12                    enforcement officers, sheriff’s office personnel, health care personnel
13                    and staff at the jail whereby an officer or member of the sheriff’s office,
14                    does not provide adverse information against a fellow officer or
15                    member of the SBCSD; and
16                n. To fail to have and enforce necessary, appropriate, and lawful policies,
17                    procedures, and training programs to prevent or correct the
18                    unconstitutional conduct, customs, and procedures described in this
19                    Complaint and in subparagraphs (a) through (m) above, with deliberate
20                    indifference to the rights and safety of Decedent, of Plaintiff and the
21                    public, and in the face of an obvious need for such policies, procedures,
22                    and training programs.
23          63.   Defendants County, Sheriff-Coroner McMahon, Sheriff-Coroner Dicus,
24     and Captain Moreno, through their employees and agents, and through their policy-
25     making supervisors and remaining Does, failed to properly hire, train, instruct,
26     monitor, supervise, evaluate, investigate, and discipline their personnel, with
27     deliberate indifference to Plaintiffs', Decedent’s, and others’ constitutional rights,
28     which were thereby violated as described above.
                                                18
                                      COMPLAINT FOR DAMAGES
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 1          64.   The unconstitutional actions and/or omissions of Defendants County,
 2     Sheriff-Coroner McMahon, Sheriff-Coroner Dicus, and Captain Moreno, and other
 3     County personnel, as described above, were approved, tolerated, and/or ratified by
 4     policymaking officers for County and SBCSD.
 5          65.   Plaintiffs are informed and believe and thereon allege that the details of
 6     these incidents have been revealed to the authorized policymakers within County and
 7     SBCSD, and that such policymakers have direct knowledge of the fact that the death
 8     of Decedent was the result of deliberate indifference to his serious mental health
 9     needs. Notwithstanding this knowledge, the authorized policymakers within the
10     County, SBCSD have approved of the conduct and decisions of the Defendants and
11     Does 1-10 in this matter, and have made a deliberate choice to endorse such conduct
12     and decisions, and the basis for them, that resulted in the death of Casi. By so doing,
13     the authorized policymakers within County and SBCSD have shown affirmative
14     agreement with the individual Defendants’ actions and have ratified the
15     unconstitutional acts of the individual Defendants. Furthermore, Plaintiff is informed
16     and believes, and thereupon allege, that Defendant County and other policy-making
17     officers for County were and are aware of a pattern of misconduct and injury caused
18     by County correctional officers and the Defendants, including its jail medical and
19     mental health staff similar to the conduct of Defendants described herein, but failed to
20     discipline culpable officers, employees, and agents and failed to institute new
21     procedures and policy within County.
22          66.   The aforementioned customs, policies, practices, and procedures; the
23     failures to properly and adequately hire, train, instruct, monitor, supervise, evaluate,
24     investigate, and discipline; and the unconstitutional orders, approvals, ratification, and
25     toleration of wrongful conduct of Defendants County, Sheriff-Coroner McMahon,
26     Sheriff-Coroner Dicus, and Captain Moreno were a moving force behind and/or a
27     proximate cause of the deprivations of Decedent’s clearly established and well-settled
28     constitutional rights in violation of 42 U.S.C. § 1983, as more fully set forth above at
                                                19
                                      COMPLAINT FOR DAMAGES
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 1     ¶48.
 2            67.    Defendants subjected Decedent to their wrongful conduct, depriving
 3     Decedent of rights described herein, knowingly, maliciously, and with conscious and
 4     reckless disregard for whether the rights and safety of Decedent, Plaintiffs and others
 5     would be violated by their acts and/or omissions.
 6            68.    As a direct and proximate result of the unconstitutional actions, omissions,
 7     customs, policies, practices, and procedures of Defendants County, Sheriff-Coroner
 8     McMahon, Sheriff-Coroner Dicus, and Captain Moreno, and Does 1-10, as described
 9     above, Decedent and Plaintiff suffered serious injuries and death, Plaintiff is entitled
10     to damages, penalties, costs, and attorneys’ fees against Defendant County and the
11     WELLPATH DEFENDANTS as set forth above.
12
                                     FOURTH CAUSE OF ACTION
13                        Violations of the Civil Rights Act, California Civil Code § 52.1
14                                    Against all Defendants and Does 1-10

15            69.    Plaintiff realleges each and every paragraph in this complaint as if fully set
16     forth here.
17            70.    Plaintiff brings the claims in this cause of action as survival claims
18     permissible under California law, including Cal. Code of Civ. Proc. Section 377.20 et.
19     seq.
20            71.    By their acts, omissions, customs, and policies, Defendants County,
21     Sheriff-Coroner McMahon, Sheriff-Coroner Dicus, and Captain Moreno, and Does 1-
22     10, acting in concert/conspiracy, as described above, while Casi was in custody, and
23     by threat, intimidation, and/or coercion, interfered with, attempted to interfere with,
24     and violated Plaintiff's and Casi's rights under California Civil Code § 52.1 and under
25     the United States Constitution and California Constitution as follows:
26                   a. The right to be free from objectively unreasonable treatment and
27                      deliberate indifference to Casi's serious medical needs while in custody
28                      as a pretrial detainee as secured by the Fourth and/or Fourteenth
                                                    20
                                          COMPLAINT FOR DAMAGES
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 1                   Amendments to the United States Constitution and by California
 2                   Constitution, Article 1, §§ 7 and 13;
 3                b. Casi’s, her unborn baby's, and her father's fundamental rights to
 4                   familial association as secured by the First and/or Fourteenth
 5                   Amendments.
 6                c. The right to enjoy and defend life and liberty; acquire, possess, and
 7                   protect property; and pursue and obtain safety, happiness, and privacy,
 8                   as secured by the California Constitution, Article 1, § 1;
 9                d. The right to protection from bodily restraint, harm, or personal insult, as
10                   secured by California Civil Code § 43; and
11                e. The right to emergency medical care as required by California
12                   Government Code §845.6.
13          72.   Defendants County, Sheriff-Coroner McMahon, Sheriff-Coroner Dicus,
14     and Captain Moreno, and Does 1-10, violations of Casi's and her father's due process
15     rights with deliberate indifference, in and of themselves constitute violations of the
16     Civil Rights Act. Alternatively, separate from, and above and beyond, Defendants’
17     attempted interference, interference with, and violation of Casi's rights as described
18     above, Defendants violated Casi’s rights by the following conduct constituting threat,
19     intimidation, or coercion:
20                a. With deliberate indifference to Casi's serious medical needs, suffering,
21                   and risk of grave harm including death, depriving Casi of necessary,
22                   life-saving care for his medical and/or psychiatric needs;
23                b. Subjecting Casi to ongoing violations of his rights to prompt care for
24                   her serious medical and psychiatric needs over days, causing immense
25                   and needless suffering, physical pain, intimidation, coercion, and
26                   endangering her life and well-being;
27                c. Requiring psychiatric patients in a high risk of suicide to remain in jail
28                   without adequate supervision, competent mental health treatment,
                                                21
                                      COMPLAINT FOR DAMAGES
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 1                     restraints, or any psychiatric treatment or treatment plan whatsoever,
 2                     instead of allowing them to receive necessary emergency medical and
 3                     psychiatric care;
 4                  d. Deliberately causing the provision of inadequate and incompetent
 5                     medical and mental health care to County jail detainees and inmates;
 6                  e. Requiring LVN’s, psychiatric technicians, and associate social workers
 7                     to work outside their legal scope of practice, and conduct assessments,
 8                     triage, and make medical and housing decisions for patients, including
 9                     Casi, they are not competent to make;
10                  f. Choosing not to provide the required constant observation and restraints
11                     for pretrial detainees and inmates at high risk of suicide who are housed
12                     in solitary confinement in segregated cells;
13                  g. Housing severely mentally ill inmates, who are receiving no psychiatric
14                     care and are at high risk of suicide, in solitary confinement in
15                     segregated cells;
16                  h. Instituting and maintaining the unconstitutional customs, policies, and
17                     practices described herein, when it was obvious that in doing so,
18                     individuals such as Casi would be subjected to self-harm, violence,
19                     threat, intimidation, coercion, and ongoing violations of rights as Casi
20                     was here; and
21                  i. Refusing to provide Casi's father with public records in violation of
22                     California's Public Records act.
23          73.     The threat, intimidation, and coercion described herein were not necessary
24     or inherent to Defendants’ violation of Decedent’s rights, or to any legitimate and
25     lawful jail or law enforcement activity.
26          74.     Further, all of Defendants’ violations of duties and rights, and coercive
27     conduct, described herein were volitional acts; none was accidental or merely
28     negligent.
                                                 22
                                       COMPLAINT FOR DAMAGES
32
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 1          75.    Further, each Defendant violated Plaintiff’s and Casi’s rights with the
 2     specific intent and purpose to deprive them of their enjoyment of those rights and of
 3     the interests protected by those rights.
 4          76.    Defendant County is vicariously liable for the violation of rights by their
 5     employees and agents, third-party contractors, including violation of rights Sheriff-
 6     Coroner McMahon, Sheriff-Coroner Dicus, and Captain Moreno, and Does 1-10,
 7     Defendant County is vicariously liable pursuant to California Government Code
 8     §815.2.
 9          77.    As a direct and proximate result of Defendants’ violation of California
10     Civil Code § 52.1 and of Plaintiff’s and Casi’s rights under the United States and
11     California Constitutions, Plaintiff (as successor in interest for Casi) sustained injuries
12     and damages, and against each and every Defendant is entitled to relief as set forth
13     above at ¶48 above, including punitive damages against all individual Defendants, and
14     all damages allowed by California Civil Code §§ 52 and 52.1 and California law, not
15     limited to costs attorneys’ fees, treble damages and civil penalties.
16
                                     FIFTH CAUSE OF ACTION
17                                    42 U.S.C. 12132 & 29 U.S.C. § 794,
                            Violations of the Americans with Disabilities Act (ADA)
18                                         Against Defendant County
19          78.    Plaintiff restates and incorporates by reference the foregoing paragraphs of
20     this Complaint as if set forth in full at this point.
21          79.    At all material times, including, but not limited to prior to—and between—
22     March 13, 2021 and March 22, 2021, Casi was a “qualified individual” with a mental
23     illness and disability and medical impairments that limited and/or substantially limited
24     her ability to care for herself and control her mental, medical, or physical health
25     condition as defined under the ADA, 42 U.S.C. § 12131 (2), and under Section 504 of
26     the Rehabilitation Act (“RA”) of 1973, 29 U.S.C. § 794, 28 C.F.R. 42.540 (k); as
27     such, Decedent qualified as an individual with a mental and physical disability under
28     California law and Decedent met the essential eligibility requirements of County
                                                  23
                                        COMPLAINT FOR DAMAGES
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 1     programs to provide access to medical and mental health care services for its
 2     detainee/inmate patients in County’s jails while they are in custody.
 3          80.    Defendant County’s Jail and mental health services are places of public
 4     accommodation and are covered entities for purposes of enforcement of the ADA, 42
 5     U.S.C. §12181 (7)(F), and the Rehabilitation Act, 29 U.S.C. § 794, as explicated by
 6     the regulations promulgated under each of these laws. Further, on information and
 7     belief, Defendant County and its Jail receives federal assistance and funds.
 8          81.    Defendant County’s Jail, as a local government and/or department or
 9     agency thereof, falls within the definition of “program or activity” covered by the
10     Rehabilitation Act, 29 U.S.C. Section 794(b). Defendant County is also within the
11     mandate of the RA that no person with a disability may be “excluded from the
12     participation in, be denied the benefits of, or be subjected to discrimination under any
13     program or activity.” 29 U.S.C. §794.
14          82.    Under the ADA, Defendant County is mandated to “develop an effective,
15     integrated, comprehensive system for the delivery of all services to persons with
16     mental disabilities and developmental disabilities . . .” and to ensure “that the personal
17     and civil rights” of persons who are receiving services under its aegis are protected.
18          83.    Congress enacted the ADA upon a finding, among other things, that
19     “society has tended to isolate and segregate individuals with disabilities” and that such
20     forms of discrimination continue to be a “serious and pervasive social problem.” 42
21     U.S.C. §12101 (a)(2).
22          84.    Defendant County is mandated under the ADA not to discriminate against
23     any qualified individual “on the basis of disability in the full and equal enjoyment of
24     the goods, services, facilities, privileges, advantages, or accommodations of any place
25     of public accommodation.” 42 U.S.C. §12182 (a).
26          85.    The ADA, 42 U.S.C. §12182(b)(1)(A)(iii), provides in pertinent part that:
27     “[i]t shall be discriminatory to afford an individual or class of individuals, on the basis
28     of a disability or disabilities of such individual or class, directly, or through
                                                 24
                                       COMPLAINT FOR DAMAGES
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 1     contractual licensing, or other arrangements, with a good, service, facility, privilege,
 2     advantage, or accommodation that is different or separate from that provided to other
 3     individuals.” Id. (emphasis added).
 4          86.    Defendant County violated the ADA, RA, and discriminated against Casi
 5     and Plaintiff, violating their ADA, RA, and state protected rights by: (a) failing to
 6     provide services or to accommodate Casi with access to appropriate, competent, and
 7     necessary care for her serious medical and psychiatric for persons who qualify for
 8     access and services under California Welfare and Institutions Code 5150; (b) failing to
 9     provide services or accommodate Casi as indicated and with appropriate
10     classification, housing, restraints and monitoring for a person in their sole and
11     exclusive custody who they knew was mentally disabled and at risk for suicide; (c)
12     failing to provide reasonable accommodations to people in custody with mental
13     disabilities at its jail and, instead, providing a quality of care and service that is
14     different, separate, inferior, and worse than the service provided to other individuals
15     with the same disabilities; (d) denying Casi, a qualified individual with a disability,
16     the opportunity to participate in or benefit from the aid, benefit, or services of County,
17     in violation of 28 C.F.R. § 35.130(b)(1)(i); (e) by reason of Casi’s mental disabilities,
18     Defendants did not afford her an opportunity to participate in or benefit from the aid,
19     benefits, and services that are equal to those afforded to other, non-disabled
20     individuals by Defendants, in violation of 28 C.F.R. § 35.130(b)(1)(ii); (f) on the basis
21     of Casi’s disability, the named Defendants failed to provide Decedent an aid, benefit,
22     or service that was as effective in affording equal opportunity to obtain the same
23     result, to gain the same benefit, and to reach the same level of achievement as
24     provided to other individuals in the same situation, in violation of 28 C.F.R.
25     §35.130(b)(1)(iii); (g) limited Casi, a qualified individual with a disability, in the
26     enjoyment of rights, privileges, advantages, or opportunities enjoyed by others
27     receiving the aid, benefit, or service of which Casi was denied, in violation of 28
28     C.F.R. §35.130(b)(1)(vii).
                                                 25
                                       COMPLAINT FOR DAMAGES
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 1          87.      Casi was denied the benefits of the services, programs, and activities of
 2     County, and was denied accommodation for her disabilities, which deprived her of
 3     safety, necessary care, and mental health and medical health programs and services,
 4     which would have provided planning and delivery of treatment, follow-up, and
 5     supervision. This denial of accommodation, programs, and services was the result of
 6     her disability in that she was discriminated against because she was mentally ill,
 7     pregnant, at risk for suicide, and gravely disabled, in that she suffered from conditions
 8     in which a person, as a result of a mental disorder, is unable to provide for her basic
 9     personal needs for food, clothing, or shelter and is unable to advocate for herself; and,
10     Casi had mental impairments that substantially limited one or more of her major life
11     activities.
12          88.      As a result of the acts and misconduct of Defendant County complained of
13     herein, Casi died, and Plaintiff has suffered, is now suffering, and will continue to
14     suffer damages and injuries as alleged above. Plaintiff has suffered loss of love and
15     society and claim damages for the wrongful death of his daughter Casi and his unborn
16     grandchild, in an amount not yet ascertained, but to be proven. Plaintiff sustained
17     serious and permanent injuries and are entitled to damages, penalties, costs, and
18     attorneys’ fees as set forth in the ADA and RA and above, in ¶ 48.
19
                                     SIXTH CAUSE OF ACTION
20                      Wrongful Death Negligence Against all Defendants and Does 1-10
21          89.      Plaintiff realleges each and every paragraph in this complaint as if fully set
22     forth here.
23          90.      At all times, Defendants County, Sheriff-Coroner McMahon, Sheriff-
24     Coroner Dicus, and Captain Moreno, and Does 1-10, owed Plaintiff and Casi the duty
25     to act with due care in the execution and enforcement of any right, law, or legal
26     obligation.
27          91.      At all times, these Defendants owed Plaintiff and Casi the duty to act with
28     reasonable care.
                                                  26
                                        COMPLAINT FOR DAMAGES
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 1          92.   These general duties of reasonable care and due care owed to Plaintiff and
 2     Casi by these Defendants include but are not limited to the following specific
 3     obligations:
 4                a. To provide safe and appropriate jail custody for Casi, including
 5                    reasonable classification, monitoring, and housing, including placing
 6                    her on suicide watch with proper suicide precautions, restraints, and
 7                    preventing access to physical conditions and items that could
 8                    foreseeably be used for suicide;
 9                b. To summon necessary and appropriate medical care for Casi;
10                c. To use generally accepted law enforcement and jail procedures that are
11                    reasonable and appropriate for Casi’s status as a pregnant and mentally
12                    ill and/or emotionally disturbed person;
13                d. To ensure that all employees and third-party contractors are working
14                    within their legal scope of practice;
15                e. To ensure that pretrial detainee-patients who are pregnant and at risk of
16                    suicide receive appropriate mental health care, monitoring, and
17                    supervision;
18                f. To ensure that all inmates in segregated housing receive appropriate
19                    supervision, including constant supervision for inmates who are at risk
20                    of suicide;
21                g. To ensure that all mentally ill patients receive a treatment plan,
22                    appropriate evaluation by a psychiatrist, and continuity of care;
23                h. To ensure that inmates at high risk of suicide are not housed alone in
24                    solitary confinement, or when housing such inmates alone, to ensure
25                    they are appropriately restrained, and placed on constant observation;
26                i. To refrain from abusing their authority granted them by law; and
27                j. To refrain from violating Plaintiff's rights as guaranteed by the United
28                    States and California Constitutions, as set forth above, and as otherwise
                                                27
                                      COMPLAINT FOR DAMAGES
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 1                    protected by law.
 2          93.   Defendants County, Sheriff-Coroner McMahon, Sheriff-Coroner Dicus,
 3     and Captain Moreno, and Does 1-10, through their acts and omissions, breached each
 4     and every one of the aforementioned duties owed to Plaintiff and Casi.
 5          94.   Defendant County is vicariously liable for the violations of state law and
 6     conduct of their officers, deputies, employees, and agents, including individual named
 7     defendants, under California Government Code section 815.2.
 8          95.   As a direct and proximate result of these Defendants’ negligence, Plaintiff
 9     and Casi sustained injuries and damages, and against each and every Defendant
10     named in this cause of action in their individual capacities are entitled to relief as set
11     forth above at ¶48 above, including punitive damages against such individual
12     Defendants.
13                                     RELIEF REQUESTED
14         WHEREFORE, Plaintiff as successor and interest and individually, respectfully
15 requests the following relief against each and every Defendant herein, jointly and
16 severally:
17                a. Compensatory and exemplary damages in an amount according to proof
18                    and which is fair, just, and reasonable;
19                b. Punitive damages under 42 U.S.C. § 1983 and California law in an
20                    amount according to proof and which is fair, just, and reasonable;
21                c. All other damages, penalties, costs, interest, and attorneys’ fees as
22                    allowed by 42 U.S.C. §§ 1983 and 1988; California Code of Civil
23                    Procedure §§ 377.20 et seq., 377.60 et seq., and 1021.5; California
24                    Civil Code §§ 52 et seq., 52.1; 42 U.S.C. § 12132 and 29 U.S.C. § 794,
25                    and as otherwise may be allowed by California and/or federal law;
26                d. Declaratory and injunctive relief, including but not limited to the
27                    following:
28                        i. An order requiring Defendant County to immediately comply
                                                28
                                      COMPLAINT FOR DAMAGES
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 1                        with California's Public Records Act;
 2                     ii. An order requiring Defendants County and current Sheriff-
 3                        Coroner Dicus to institute and enforce appropriate and lawful
 4                        training, supervision, policies, and procedures for handling
 5                        mentally ill and/or emotionally disturbed persons, and/or persons
 6                        with serious medical and mental health needs at the County Jail;
 7                    iii. An order requiring Defendants County and current Sheriff-
 8                        Coroner Dicus to provide pretrial detainees and inmates at the
 9                        County jail access to appropriate, competent, and necessary care
10                        for serious medical and psychiatric needs;
11                    iv. An order requiring Defendants County and current Sheriff-
12                        Coroner Dicus to provide disabled pretrial detainees and inmates
13                        with adequate conditions of confinement;
14                     v. An order requiring Defendant County to cease allowing and
15                        assigning, medical health workers to work outside their legal
16                        scope of practice and without sufficient supervision;
17                    vi. An order requiring County to cease and desist from allowing and
18                        assigning LVN’s, Psychiatric Technicians, and Associate Social
19                        Workers to work outside their legal scope of practice and without
20                        sufficient supervision;
21                    vii. An order requiring Defendants County and Sheriff-Coroner
22                        Discus to evaluate a patient before prescribing medication for the
23                        patient except in cases of emergency;
24                   viii. Defendants County and Sheriff-Coroner Discus to properly
25                        classify, house, and/or monitor inmates suffering from mental
26                        health disabilities, including placement on suicide watch with
27                        proper suicide precautions;
28                    ix. Defendants County and Sheriff-Coroner Discus to provide
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 1                          constant observation for all suicidal pretrial detainees and
 2                          inmates housed alone in segregated cells;
 3                       x. Defendants County and Sheriff-Coroner Discus from continuing
 4                          to allow, encourage, and require unlicensed and/or inadequately
 5                          trained and/or and inadequately supervised medical and mental
 6                          health staff to make decisions to place jail inmates on, and
 7                          remove inmates from, suicide watch or the safety cell;
 8                      xi. Such further relief, according to proof, that this Court deems
 9                          appropriate and lawful.
10                                        JURY DEMAND
11          Plaintiff hereby demands a jury trial in this action.
12
13       DATED: August 19, 2021                    Respectfully submitted,
14                                                 THE COCHRAN FIRM CALIFORNIA
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16                                         By:
17                                                    EDWARD M. LYMAN III
                                                      Attorneys for Plaintiffs
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